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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

 CEDRIQUEZ McCAA, Plaintiff                  CIVIL DOCKET NO. 1:20-CV-00845-P

 VERSUS                                      JUDGE DAVID C. JOSEPH

 J. BALTAZAR, ET AL,                         MAGISTRATE JUDGE JOSEPH H.L.
 Defendants                                  PEREZ-MONTES


                                   JUDGMENT

      For the reasons stated in the Report and Recommendation of the Magistrate

Judge previously filed herein (ECF No. 16), noting the absence of objections thereto,

and concurring with the Magistrate Judge’s findings under the applicable law;

      IT IS ORDERED that Plaintiff’s Complaint (ECF Nos. 1, 8) is hereby DENIED

and DISMISSED WITH PREJUDICE under 28 U.S.C. §§ 1915(e)(2)(b) and 1915A.

      The Clerk of Court is instructed to send a copy of this Judgment to the keeper

of the three strikes list in Tyler, Texas.

      THUS DONE AND SIGNED in Chambers, this 21st day of October, 2020.



                                         _____________________________________
                                         DAVID C. JOSEPH
                                         UNITED STATES DISTRICT JUDGE
